        Case 2:11-cv-00028-TS Document 126 Filed 07/18/13 PageID.2601 Page 1 of 1

AO 450 (Rev.5/85) Judgment in a Civil Case


                                                      FILED
                        . d         . .        U.S. DISTRICT COURT
                      Untte States Dtstnct Cou:Q)Jillra A 11 , 21
                                             Central Division for the District of Utah       DISTRICT OF IIIAH

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PATRICIA TANNER, an individual, and                                    JUDGMENT IN A CIVIL CASE
TJINTA ESTATES, a Utah limited liability
company,
                                        v.

HEATH JOHNSTON, an individual, CRAIG
LEWIS, an individual, TIMOTHY ROSS, an
individual, H&S INVESTMENTS, a Utah
limited liability company, JUSTIN
JOHNSTON, an individual, AMERICAN
COMMERCIAL REAL ESTATE
SPECIALISTS GROUP, a Utah limited
liability company, and UTAH COUNTY
COMMERCIAL REAL ESTATE
SPECIALISTS GROUP,
                                                                       Case Number: 2:11-cv-00028-TS-DBP



           IT IS ORDERED AND ADJUDGED




           that judgment be entered in favor of the NAI defendants and against the plaintiffs on plaintiffs'
           federal securities claims. Plaintiffs' state law claims are dismissed without prejudice.



July 18, 2013                                                  D. Mark Jones
Date                                                           Clerk of Court
